-99-cy-00100- | 1 of 1. Pagel 2972
CASC FING TY ORDER - UNITED STATES DISTRICT COURT © NORTHERN DISTRICT OF TEXAS

PLACE: Dallas JUDGE: Barbara M. G. Lynn DATE: July 10, 2006
REPORTER: Sue Engledow MARSHAL: DEPUTY: Lori Greco
INTERPRETER: CSO: John Williams COURT TIME: 6 Hrs 15 Mins

CIVIL ACTIONS

TIME CASE NUMBER & STYLE TYPE OF HEARING & RESULTS ATTYS PRESENT

7:30 a.m. 3:99-CV-100-M CIVIL JURY TRIAL Counsel of record
USA, ex rel Susan Heath
vs,
DFW Intl Airport Board

Court hears argument on Motions in Limine # 16 & 17

4th day of trial

8:30 a.m. Trial testimony begins
10:05 a.m. Break
10:25 a.m. Trial testimony continues

| JUL TO
11:30 a.m. Lunch ae

& CLE 1 US, DISTRY ved we

1:30 p.m. Trial testimony continues
2:15 p.m. Break
2:30 p.m. Trial testimony continues

4:00 p.m. Adjourned until Tuesday, July 11, 2006, at 8:30 a.m.

